    Case 2:10-md-02179-CJB-DPC Document 100-5 Filed 08/26/10 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

__________________________________________
                                          )                 MDL No. 2179
In re: OIL SPILL by the OIL RIG           )
       “DEEPWATER HORIZON” in the         )
       GULF OF MEXICO, on April 20, 2010  )                 Section “J”
                                          )
This Document Relates to:                 )                 Judge Barbier
Civil No. 2:10-cv-01497                   )                 Magistrate Judge Shushan
__________________________________________)

                NOTICE OF HEARING ON CHEVRON U.S.A., INC.’S
               MOTION FOR LEAVE TO INTERVENE AS DEFENDANT

       PLEASE TAKE NOTICE that Proposed Intervenor-Defendant Chevron U.S.A., Inc.’s

Motion for Leave to Intervene as Defendant will be heard in the United States District Court for

the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana, before the

Honorable Carl J. Barbier, at 9:30 a.m. on September 29, 2010.
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Date: August 26, 2010                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 26th day of August, 2010, a true and accurate copy of the

foregoing was filed via the Court’s CM/ECF system and served via the Court’s CM/ECF system

upon all counsel of record.



                                             /s/Meredith P. Young
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